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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ABU SAMURA,                         *
                                    *
             Plaintiff,             *
                                    *
v.                                  * Civil Case No.: 1:20-cv-02095-SAG
                                    *
SAVASENIORCARE ADMINISTRATIVE *
SERVICES, LLC, ET AL.,              *
                                    *
             Defendants.            *
____________________________________/

                    DEFENDANTS’ REPLY IN SUPPORT OF
             MOTION TO DISMISS OR STAY THE CASE AND COMPEL
            ARBITRATION, AND FOR AN AWARD OF ATTORNEYS’ FEES

       Plaintiff Abu Samura’s Opposition to Defendants SavaSeniorCare Administrative

Services, LLC (“Administrative Services, LLC”) and SSC Catonsville Operating Company,

LLC’s (“SSC Catonsville”) Motion to Dismiss or Stay the Case and Compel Arbitration, and for

an Award of Attorneys’ Fees fails to show that the arbitration agreement between Plaintiff and

Defendants is unenforceable. As explained below, and for the reasons stated in Defendants’

Memorandum in Support of its Motion, all claims asserted in this action should be compelled into

arbitration pursuant to 9 U.S.C. §§ 3 and 4 and the proceeding in this Court dismissed, or in the

alternative, stayed pending the resolution of the arbitration, and Defendants should be awarded

their attorneys’ fees incurred in connection with this Motion.

I.     LEGAL ARGUMENT

       A.      Defendant SavaSeniorCare Administrative Services, LLC Has Standing To
               Compel Arbitration

       Plaintiff’s argument that Administrative Services, LLC lacks standing to compel

arbitration because it is a non-signatory to the Employment Dispute Resolution Program (“EDR”)



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Agreement is without merit. Administrative Services, LLC provides administrative support to

SSC Catonsville. Plaintiff alleges that Administrative Services, LLC is a “co-employer” of

Plaintiff. See ECF 1, Complaint, ¶ 5. Although Defendants dispute that Administrative Services,

LLC was Plaintiff’s employer or is a joint or co-employer under the law, Plaintiff has brought the

same claims arising from the same set of facts against both Administrative Services, LLC and SSC

Catonsville. In an analogous situation involving a parent-subsidiary relationship, the Fourth

Circuit has held that “if ‘the charges against a parent company and its subsidiary are based on the

same facts and are inherently inseparable, a court may refer claims against the parent to arbitration

even though the parent is not formally a party to the arbitration agreement.’” Bartels by & through

Bartels v. Saber Healthcare Grp., LLC, 880 F.3d 668, 678 (4th Cir. 2018) (quoting J.J. Ryan &

Sons, Inc. v. Rhone Poulenc Textile, S.A., 863 F.2d 315, 320-21 (4th Cir. 1988)). Here, similarly,

the claims against Administrative Services, LLC and SSC Catonsville are based on the same facts

and are inherently inseparable.      Plaintiff has no basis to contend otherwise.        Accordingly,

Administrative Services, LLC has standing to compel arbitration.

       B.      The Parties’ Arbitration Agreement Is Supported By Sufficient Consideration

               1.      The arbitration agreement is not invalid because Defendants did not
                       personally sign the agreement

       Plaintiff’s argument that the EDR Program Agreement is invalid because Defendants did

not sign it is meritless. “While a contract cannot bind parties to arbitrate disputes they have not

agreed to arbitrate, ‘[i]t does not follow . . . that under the [Federal Arbitration] Act an obligation

to arbitrate attaches only to one who has personally signed the written arbitration provision.’” Int’l

Paper Co. v. Schwabedissen Maschinen & Anlagen GMBH, 206 F.3d 411, 416 (4th Cir. 2000)

(quoting Fisser v. Int’l Bank, 282 F.2d 231, 233 (2d Cir. 1960)); see Galloway v. Santander

Consumer USA, Inc., 819 F.3d 79, 89 (4th Cir. 2016) (“The ‘written arbitration agreement’ that is

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necessary to bring an agreement within the FAA's scope is an ‘actual document—the physical

embodiment of the underlying legal obligations’ and need not include any written assent to those

obligations.”) (quoting Seawright v. Am. Gen. Fin. Servs., 507 F.3d 967, 978-79 & nn. 5-7 (6th

Cir. 2007)). “Rather, a party can agree to submit to arbitration by means other than personally

signing a contract containing an arbitration clause.” Int’l Paper Co., 206 F.3d at 416.

       Defendants agreed to arbitration by considering Plaintiff for employment and hiring him.

See ECF 9-1, Exhibit 1, Exhibit 1 thereto (“If you wish to be considered for employment, you must

read and sign the following agreement binding you to use the EDR Program to resolve all

disputes.”). Thus, the EDR Program Agreement is supported by sufficient consideration.

               2.      The arbitration agreement does not lack mutuality of consideration

       Plaintiff’s Opposition fails to show that the EDR Program Agreement lacks mutuality of

consideration. “[M]utuality ‘does not require an exactly even exchange of identical rights and

obligations between the two contracting parties’ for an arbitration agreement to be valid.” Best

Effort First Time, LLC v. Southside Oil, LLC, 2018 WL 1583465, at *7 (D. Md. Mar. 30, 2018)

(quoting Walther v. Sovereign Bank, 386 Md. 412, 433 (2005)). “Accordingly, the fact that an

arbitration clause carves out limited exceptions for one party does not destroy mutuality, nor does

it render the agreement illusory.” Id. “Indeed, ‘[i]t is well settled that the Courts of Law . . . will

not inquire into the adequacy of the value exacted for the promise so long as it has some value.’”

Owen v. CBRE, Inc., 2016 WL 7033973, at *4 (D. Md. Dec. 2, 2016) (quoting Walther, 386 Md.

at 433). “And, this Court has observed that ‘arbitration agreements that more frequently bind the

employee than the employer are valid despite the differences in the parties' rights.’” Id. (quoting

Rose v. New Day Fin., LLC, 816 F. Supp. 2d 245, 259 (D. Md. 2011)).

       Here, the EDR Program Booklet carves out a limited exception for claims by Defendants



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“for injunctive relief to protect trade secrets and confidential information.” ECF 9-1, Exhibit 1,

Exhibit 3 thereto, page 3. However, the EDR Program Agreement unequivocally binds Plaintiff

and Defendants to the dispute resolution process. Defendants did not reserve the right to alter,

amend, modify, or revoke this obligation. Moreover, the mutuality of the obligation is repeatedly

referenced. See ECF 9-1, page 7. Accordingly, the EDR Program Agreement is supported by

mutuality of consideration.

               3.     The arbitration agreement allows Plaintiff to demand arbitration

       Plaintiff claims that he cannot demand arbitration because the EDR Administrator can

potentially “sit” on Plaintiff’s demand for arbitration and not initiate the arbitration process.

Plaintiff contends that the EDR Program Booklet does not expressly require the EDR

Administrator to take any action after receiving an employee’s demand for arbitration. Plaintiff’s

argument is without merit because the EDR Program Booklet clearly requires Defendants to

initiate the arbitration process for covered claims by employees. See ECF 9-1, page 7.

       Plaintiff’s reliance on Raglani v. Ripken Prof’l Baseball, 939 F. Supp. 2d 517 (D. Md.

2013) is misplaced. In Raglani, the court found that the employer’s multi-step dispute resolution

program “lacks any suggestion that [the employer] is required to submit any dispute it may have

with an employee to arbitration, and contains no other potential ‘mutuality of obligation’” between

the employer and the employee. 939 F. Supp. 2d at 523. As discussed above, there is mutuality

of obligation between Plaintiff and Defendants. See supra Section I.B.2. Thus, the lack of an

express provision requiring the EDR Administrator to submit the dispute to arbitration does not

invalidate the EDR Program Agreement.

               4.     The EDR Program is not shrouded in secrecy

       Plaintiff argues that the EDR Program is secret because the names of the EDR Program



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personnel are not identified in the EDR Program Booklet. Plaintiff cites no case law in support of

that proposition. Moreover, Plaintiff acknowledges that he ultimately received the name of

Defendants’ Region Human Resources Representative. See ECF 10-1, page 12.

       Plaintiff also argues that the EDR Program is secret because he did not receive a copy of

the arbitration rules. In Hooters of Am. v. Phillips, a case cited in Plaintiff’s Opposition and not

binding on this Court, the U.S. District Court for the District of South Carolina stated that “[i]n the

orthodox situation the content of arbitration rules would not constitute a material term of the

agreement because such rules would address merely procedural matters of the forum.” 39 F. Supp.

2d 582, 606-07 (D.S.C. 1998). On appeal, the Fourth Circuit held that the employer “materially

breached the arbitration agreement by promulgating rules so egregiously unfair as to constitute a

complete default of its contractual obligation to draft arbitration rules and to do so in good faith.”

Hooters of Am., Inc. v. Phillips, 173 F.3d 933, 938 (4th Cir. 1999).

       Here, the EDR Program Booklet sufficiently describes the arbitration process, including

the available discovery methods, how evidence is presented during the hearing, and the

requirement that the arbitrator issue a written decision that is binding on all parties. See ECF 9-1,

Exhibit 1, Exhibit 3 thereto, page 8. Plaintiff does not claim, nor could he claim, that the arbitration

rules are one-sided. Accordingly, the EDR Program Agreement is not invalid because Plaintiff

does not have a copy of the arbitration rules.

               5.      Defendants do not have unbridled discretion to avoid arbitration

       Plaintiff argues that Defendants have unbridled discretion to avoid arbitration by “simply

ignoring or refusing to process [an] employee’s dispute through any or all steps[.]” ECF 10-1,

page 11. Plaintiff’s argument is meritless because Defendants are bound to arbitrate all claims

covered by the EDR Program. Defendants did not reserve the right to alter, amend, modify, or



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revoke this obligation. Accordingly, the EDR Program Agreement is valid and enforceable.

       C.      The Arbitration Agreement Is Not Unconscionable

       Plaintiff contends that the EDR Program Agreement is unconscionable because it is a

contract of adhesion and gives Defendants unilateral power to decide whether any employee

dispute is actually submitted to arbitration.     However, the Agreement is not procedurally

unconscionable because the language in the Agreement is clear and unambiguous. Notably,

Plaintiff does not contend (1) that he made any attempt to negotiate the terms of the Agreement;

(2) that he did not understand that he had agreed to waive his right to a jury trial; and (3) that he

was not given an adequate opportunity to review the EDR Program materials before signing.

Merely alleging that the Agreement was presented on a take-it-or-leave-it basis is not enough to

show procedural unconscionability.

       Furthermore, the Agreement is not substantively unconscionable because it is not one-

sided. The Agreement is mutually binding on Plaintiff and Defendants. See supra Section I.B.2.

Accordingly, the Court should find that the Agreement is not unconscionable.

       D.      Plaintiff’s Claims Fall Within The Scope Of The Arbitration Agreement

       Plaintiff concedes that if the Court finds that the Agreement is valid, then his claims are

covered by the Agreement. See ECF 10-1, page 14. Accordingly, it is undisputed that Plaintiff’s

claims fall within the scope of the Agreement.

       E.      Defendants’ Should Be Awarded Their Attorneys’ Fees As A Sanction For
               Plaintiff’s Lack Of Justification For His Refusal To Arbitrate

       Plaintiff’s challenges to the validity of the Agreement are meritless and contrary to well-

established law. Plaintiff has no basis to contend that his challenges are supported by existing law

or a nonfrivolous argument for extending existing law.

       First, Plaintiff’s argument that Administrative Services, LLC lacks standing to compel

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arbitration is contrary to Fourth Circuit case law since at least 1988. See supra Section I.A.

Second, Plaintiff’s argument that the Agreement is invalid because Defendants did not sign it is

contrary to Fourth Circuit case law since at least 2000. See supra Section I.B.1. Third, Plaintiff’s

argument that the Agreement lacks mutuality is contrary to the plain language of the Agreement

and Maryland case law since at least 2005. See supra Section I.B.2. Finally, Plaintiff’s arguments

that he cannot demand arbitration, that the EDR Program is secret, that Defendants have unbridled

discretion to avoid arbitration, and that the Agreement is unconscionable lack any factual or legal

basis. See supra Sections I.B.3-I.B.5, I.C.

        Accordingly, the Court should award Defendants’ their attorneys’ fees as a sanction for

Plaintiff’s lack of justification for his refusal to arbitrate.

        F.      Plaintiff’s Request To Be Awarded His Attorneys’ Fees Should Be Denied

        Plaintiff contends that he should be awarded his attorneys’ fees in connection with

preparing his Opposition. Plaintiff’s request should be denied because he did not file a motion.

Additionally, there is no factual or legal basis to sanction Defendants for the delay in initiating

arbitration. Plaintiff does not argue, nor could he argue, that Defendants waived their arbitrate.

Accordingly, the Court should deny Plaintiff’s request to be awarded his attorneys’ fees.

II.     CONCLUSION

        There being no dispute that Plaintiff’s claims are squarely within a valid and enforceable

arbitration agreement, Defendants respectfully request that the Court grant their Motion and either

dismiss or stay the case and compel Plaintiff to submit his claims to arbitration. Defendants further

respectfully request that the Court award their attorneys’ fees incurred in connection with their

Motion because Plaintiff lacks justification for his refusal to arbitrate.




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Date: November 10, 2020
                                            Respectfully submitted,

                                                   /s/
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of Defendants’ Reply in

Support of Motion to Dismiss or Stay the Case and Compel Arbitration, and for an Award of

Attorneys’ Fees was electronically filed and thereby served on November 10, 2020, to:


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                                                   /s/
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